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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              ROCK HILL DIVISION   REef;
UNITED STATES OF AMERICA
        Respondent,

v.

ZHIVAGO ANWAH ROBINSON
         Movant.



          MOVANT'S MEMORANDUM AND POINTS OF AUTHORITIES IN
           SUPPORT OF MOTION PURSUANT TO 28 U.S.C. § 2255
              TO VACATE, SET ASIDE OR CORRECT SENTENCE


TO THE HONORABLE CAMERON McGOWAN CURRIE, JUDGE:

       INTO COURT COMES NOW, ZHIVAGO ANWAR ROBINSON,             hereinafter "movant"

or "Robinson," appearing on his own behalf and files this his memor­

andum and points of authorities in support of his motion to vacate,

set aside or correct sentence for a person in federal prison.                  As

grounds for this memorandum, movant states the following unto this

court:

                                   PROCEDURAL HISTORY

       On July 1, 2008,      the United States of America named Robinson in

a 12 count superseding indictment charging him and three others with

violations of federal drug and gun laws. Robinson was charged with

Conspiracy to Possess with Intent to Distribute 500 grams or more of

cocaine and 50 grams or more of "crack cocaine," in violation of 21

U.S.C. §§ 841(a)(I), 841(b)(I)(A), and 841(b)(I)(B), all in violation

of 21 U.S.C. § 846. Robinson was also charged with being a felon in

possession of a firearm and a substantive count of possessing with

intent to distribute and distributing a quantity of crack cocaine,



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in violation of 21 U.S.C.       ~   841(a)(1), 841       (b)(l)(C), and 922(g)(1).

     The government noted that Robinson had two prior felony drug

convictions in 2000 and 2001, and exercised its option to file an

information pursuant 21 U.S.C. § 851 to enhance his sentence. Trial

on the superseding indictment started on September 30,               2008. After

three days of trial,     the jury unanimously found Robinson guilty of

a less conspiracy offense involving 5 grams but less than 50 grams

of "crack cocaine," the felon in possession count and possession with

intent to distribute a quantity of crack cocaine.

     On May 4,   2009,   Robinson appeared before this court for sentencing.

While defense counsel filed no objection to the "career offender"

status,   this court devoted vast majority of the sentencing hearing

to the issue of guideline range before application of the "career

offender" sentence. Although the entire career offender argument was

based on the 21 U.S.C. § 851 information filed by the government,

defense counsel requested for and agreed with the government that

Robinson should be sentenced under the career offender provision of

U.S.S.C. § 4B1.1 instead of the 21 U.S.C.            ~    851 statutory enhancement.

     Defense counsel's action worked to actual harm of Robinson because

the minimum sentence he faced was moved from 10 years under § 851 to

30 years under § 4B1.1. When this court asked defense counsel for obj

ections, counsel presented what this court reminded him, was not an

objection. Rather than object to the validity of the predicate offenses,

counsel argued that small amounts of drug was involved and movant did

not use guns in the offense. Considering the factors set forth in 18

U.S.C. § 3553(a), and the unobjected to career offender status,                    this

court sentenced Robinson to 360 months imprisonment, 8 years supervised



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release, and %300 special assessment.

       Indeed, this court's relent         s efforts to fashion a sentence

not greater than necessary was hampered by a labyrinth of guideline

issues argued between the prosecutor, the probation officer and the

defense counsel.    ~lthough    the prohation officer made errorless argument,

and pointed to this court that the jury found Robinson to be responsible

for 5 grams but less than 50 grams of crack cocaine, no counsel informed

this court to change its earlier conclusion that the quantity attri­

butable to Robinson should be 78 grams. This error continued despite

this      court's    agreement         with the probation officer that the

jury's finding of less than 50 grams should be used to determine. the

sentence.

       Pursuant to 21 U.S.C.     ~   851 upon which the entire guideline argu­

ment was heard, the statutory requirement to rlouhle the oenalty for

statute of conviction, required this court to impose a "statutory"

sentence of not less than 10 years or more than life inprisonment.

The critical error not pointed out by any counsel was that 21 U.S.C.

~   851, was not the proper forum to calculate a guideline sentence.

That section only calls for a statutory sentence and predates the

guidelines. Although the prosecutor was perfectly aware of this error,

he allowed it to play out, albeit fraudulently on this court, and then

moved for a "kill" after the court has heard the testimony of the

character witnesses.

       This court's request on the government's position as to defense

counsel's reqUest for a sentence outside the guideline range, provided

the prosecutor with an opportunity to abandon his 21 U.S.C.                ~   A51 theory



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and requested as follows:

        M~.   LRVRNTIS:       Well, your Honor, we would respectfully
                              request that a guideline sentence unner
                              the career offender guidelines he applied
                              in this case. ~s discussed in the spntenc­
                              ing guidelines, Title 7R, Section Q9~(h)
                              mandates that the sentencing commission
                              assure that certain career offenders rece­
                              ive a sentence of imprisonment at or near
                              the maximum term authorized. (Sent. Tr.
                              at 38)

        This request was granted without taking into consideration that

the guideline calculation under U.8.S.G.                    ~   ~n1.1,   is different from

the calculation of a sentence under 21 U.S.C.                      ~   R51. For example,

under    ~    ~n1.1   career offender, the statutory minimum and maximum sent­

ence cannot be doubled. Rather, a table of increased guideline ranges

is provided based on the maximum sentence for the statute of convic­

tion. Conversely, under 21 U.S.C.              ~    R51, the       statutory minimum sentence

is doubled while the maximum is also increased. The sentence imposed

under § 851, is a statutory sentence and not a guideline sentence.

        While Robinson's counsel requested a sentence outside the guideline,
he stood still when the government's counsel requested a Career Offender

sentence under         ~   4B1 .1. Defense counsel failed to note that under the

guideline career offender requested by the government, Robinson's
maximum penalty for selection of proper                 ~       4B1.1 guideline range cannot

be doubled but remains at a maximum of 40 years. 21 U.S.C.                        ~   841(b)(1 )(B).

In essence, counsels led this court to a statutory enhancement, doubled

the statutory maximum penalty to life imprisonment and used what would

have been a statutory sentence to obtain a higher guideline sentence. A

classical fraud on the court.             Robinson timely appealed to Fourth Circuit.



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  On August 11, 2010, the Fourth Circuit Court of Appeals affirmed

   Robinson's conviction and sentence. This 28 U.S.C. § 2255 motion is

   timely filed.

                            ARGUMENTS AND POINTS OF AUTHORITIES

          Generally, " 28 U.S.C. § 2255 requires a petitioner to prove by

   a preponderance of the evidence that "the sentence was imposed in

   violation of the constitution or laws of the United states, or that

   the court was without jurisdiction to impose such sentence, or that

   the sentence was in excess of the maximum authorized by law." Leano

   v. United Sta.tes, 334 F.Supp.2d 885, 890 (D.S.C. 2004) (quoting 28 U.S.C.

   §   2255(a). In Leano l    the District Court noted that this is "the proof

   needed to allege a constitutional error, and that "the scope of review

   of non-constitutional error is more limited than that of constitutional,

   a non-constitutional error does not provide a basis for collateral

   attack unless it involves "a fundamental defect which inherently results

   in a complete miscarriage of justice," or is 'inconsistent with rudi­

   mentary demands of fair procedure. '" Leano, 334 F.Supp.2d at 890 (quoting

   United States v. Mikalajunas, 186 F.3d 490, 495-96 (4th Cir. 1999).

          Robinson will show this court that the issues presented for this

   court's consideration, involve constitutional as well as "a fundamental

   defect which inherently, in his case, resulted in a complete miscarriage

   of justice, or is 'inconsistent with rudimentary demands of fair proc­

   dure."

  No.1.         WHETHER THE COURT COMMITTEDAPROCEDURAL ERROR WHERE
                 THE COURT CONFUSED 21 U. S. C. 851 WITH THE CAREER
                   OFFENDER PROVISION PURSUANTTO §4B1.1 OFTHE
                      UNITED STATES SENTENCING GUIDELINES

       Robinson asserts that his sentence must be vacated because there

was a fraud on this court which caused the court to confuse 21 U.S.C.

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§ 851 with the career offender provision pursuant to § 4B1.1 of the

Sentencing Guidelines.

     The issue presented here is analogous to that dealt with the

court in   ~er   v. United states, 2009 u.S. Dist. LEXIS 44849 (W.D.

NC. May 27, 2009). In Hopper, defendant was granted the Petition for

Habeas Corpus where the court found Petitioner's motion was based on

an error made in his sentencing guidelines calculations that was not

discovered by anyone, including his attorneys, at the time of sent­

encing. Hopper, as in the instant case, was originally charged with

having been involved with at least 50 grams of cocaine base. However,

both petitioner and the government stipulated that he was responsible

for "at least 35 grams but less than 50 grams of cocaine base. The

stipulation, as agreed by both parties, reduced Hopper's sentencing

exposure from a statutory term of 10 years up to a maximum of life

imprisonment under 21 U.S.C. § 841(b)(1)(A)(iii) down to a minimum

of 5 years but not more than 40 years imprisonment under § 841(b)(1 )(B)

(iii). Therefore, once petitioner was classified as a career offender,

his sentence should have been calculated using U.S. Sentencing Guidel­

ines § 4B1.1(b)(B), which corresponds to a statutory maximum of 40

years and provides a base offense level of 34, rather than §4B1.1(b)(A),

which corresponds to a statutory maximum term of life imprisonment

and provides a base offense level 37.

     In the instant      case, the probation officer reminded this court,

and it was agreed that the jury having found that Robinson was respon­

sible for 5 grams but less than 50 grams of cocaine base, his statutory

sentencing exposure was 5 but not more than 40            years. Robinson beli9v9s
that but for fraud on this court, his minimum sentence exposure would


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not have been 30 years. Up until after character testimonies, no one,

including defense counsel, said anything to this court about the use

of the career offender provision pursuant to §4B1.1 of the Sentencing

Guidelines. It was unfathomable why both the government and defense

counsel remained silent while this court was calculating a guideline

sentence pursuant to 21 U.S.C. § 851 statutory career offender enhan­

cement provision.

     A § 851 notice is filed, as in this case, when the government

is seeking enhanced statutory penalty based on a defendant's prior

convictions. with regard to career offender status pursuant to §4B1.1

of the Sentencing Guidelines, a defendant is a career offender if he/she

was 18 years old at the time of the instant offense; the instant off­

ense is a felony crime of violence or controlled substance offense

and the defendant has at least two prior felony convictions of either

a crime of violence or controlled substance offense. See Sanders v.

United states, 2009 U.S. Dist. LEXIS, 128600. As the court in Sanders

made clear, the two proviSions, 21 U.S.C. § 851 and U.S.S.G. § 4B1.1,
"work independent of one another.

     Because the the government changed from 21 U.S.C. § 851 of which

this court correctly doubled the statutory minimum sentence,to U.S.S.G.

§ 4B1.1 where statutory minimum and maximum are not required to be doub­

led, but chose the guideline table based on the doubled statutory

penalty, the imposed sentence was erroneous and warrants the sentence

to be vacated for resentencing.




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  WHETHER ROBINSON'S JUNE 12, 2000, CONVICTIONS, A NON-FELONY
  WITH INDETERMINATE SENTENCE AND THE OTHER WITH A SUSPENDED
     SENTENCE, CAN BE COUNTED AS ONE OF THE TWO PREDICATE
     CONVIC~rIONS NEEDED TO TRIGGER §4B1. 1 CAREER OFFENDER



     Robinson asserts that he is innocent of the U.S.S.G. § 4B1.1

career offender status and urges this court to vacate his sentence.

Robinson hotly contested this matter with his defense counsel, both

during the trial and on appeal but to no avail.

United States Sentencing Guidelines § 4A1.2, governs the determination

as to whether convictions are counted under § 4B1.1. out of the three

prerequisites to find that a defendant is a career offender, Robinson

is contesting one. That is, whether he ha? " at least two prior felony

convictions of either a crime of violence or controlled substance

offens."

     The government, in its 21 U.S.C. § 851 notice, listed the only

two prior convictions found in Robinson's criminal history. Critical

to determination of the issue       raised here, is the June 12, 2000,

conviction. First, there is no dispute that the conviction listed under

Case No. 2000-GS-46-1701 is not a felony, and according to defense

counsel, was not considered. However, defense counsel's silence on

the use of the suspended sentence, was not golden to Robinson.

     Robinson contends that his June 12, 2000, convictions should not

have counted towards designating him a career offender. A sentence

of imprisonment is defined to exclude any portion thereof which is

suspended. § 4A1.2(b)(2).      Accordingly, Robinson's 10-year suspended

sentence imposed for the June 12, 2000, conviction could not count

as a "sentence of imprisonment" exceeding one year and one month, as

required by § 4A1.2(e)(1) for sentence imposed within fifteen years


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of the instant offense.

     Robinson reminds this court that this issue eluded discussion

of this court because the switch from 21 U.S.C. § 851 notice, to the

Sentencing Guidelines' § 4B1.1, after a very long discussion of the

applicable guideline range, and defense counsel's illiteracy on the

guidelines' § 4B1.1 prerequisites, foreclosed any ruling on the matter.

Based on the foregoing, Robinson's sentence must be vacated.
                                 No. III.

     ROBINSON IS ENTITLED TO RESENTENCING BASED UPON HIS FAILURE TO
     RECEIVE THE EFFECTIVE ASSISTANCE OF COUNSEL GUARANTEED HIM BY
          THE SIXTH AMENDMENT TO THE UNITED STATES CONSTITUTION


     ZHIVAGO ANWAR ROBINSON was represented at trial               by Langdon D. Long,

Assistant Federal Public Defender. Despite the filing of pre-trial

motions and attendance of counsel at trial, ZRIVAGO ANWAR ROBINSON

did not receive the effective assistance of counsel as required under

the Sixth Amendment to the United States Constitution. The record is

replete with instances of ineffective assistance, most significant

of which are:

     1.     The Failure of Defense Counsel to Object to Petitioner's

ErroneousSentencing Calculations.

     2.     The Failure to Object whether or not Robinson was found

to be a Career Offender.

     3.     The Failure of Counsel to raise on appeal, despite Robinson's

request, the qualification for Career Offender and the Erroneous

Sentencing Calculations.

     To establish a claim of ineffective assistance of counsel,                a

petitioner must show that counsel's performance fell below an objective


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standard of reasonableness, and that he was prejudiced by such consti­

tutionally dE!ficient representation. Strickland v. Washington,               466

U.S. at 687-91 (1984).     In measuring counsel's performance, there is

a strong presumption that counsel's conduct was within the wide range

of reasonable professional assistance.           Id. at 689; See also Fields

v. Attorney General of State of Md.,            956 F.2d 1290, 1297-99 (4th Cir.

1992). Furthermore,    in considering the prejudice prong of the analysis,

a court" can only grant relief under ... Strickland if the 'result

of the proceeding was fundamentally unfair or unreliable.'"               See Sexton

v. French, 163 F.3d 874, 882 (4th Cir. 1998)(quoting Lockhart v. Fret­
well, 506 U.S.   364, 369, 113 S.Ct. 838, 122 L.Ed.2d 180 (1993»               The

petitioner "bears the burden of proving Strickland prejudice,"                Fields,

956 F.2d at 1297 (citing Hutchins,           724 F.2d at 1430-31), and if a peti­

tioner fails to meet this burden, a reviewing court need not consider

the performance prong. Id. at 1290 (citing Strickland, 466 U.S. at

697). Critically, because Robinson's             claims are attempting to chall

enge sentencing issues,     in order to demonstrate an entitlement to

relief, he must, at a minimum, allege facts which establish that his

"sentence would have been more lenient"           absent counsel's errors. Royal

v. Taylor, 188 F.3d 239, 248-49 (4th Cir. 1999). Applying the foregoing
principles to petitioner's allegations against counsel, it is apparent

that his sentence will be vacated.

     Petitioner contends that his counsel failed to object to petit­

ioner's erroneous sentencing calculations. As petitioner separately

argued,   this contention is on point with the issue dealt with the

District Court in Hopper v. United States, 2009 U.S. Dist. LEXIS 44849

(W.D. Nc. May 27,     2009). In that case,       the court found,    as Petitioner




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contended and the government conceded,         that defense counsel was

prejudicially ineffective for having failed to object to Petitioner's

erroneous sentencing calculations. Citing Smith v. United States, 871

F.Supp.   251.   255-56 (E.D.Va. 1994)(relief in the form of resenting

was granted on a § 2255 motion due to trial          ~ounsel's    ineffectiveness

for failing to object at sentencing to the use of two excludable

misdemeanor convictions in defendant's criminal history computations).

     In the instant case, as in Hopper, supra, Robinson's counsel

failed to "familiarize himself with the Career Offender status for

sentencing." and by his failure" to object to a sentence under § 841

(b)(I)(A) when in fact Robinson was convicted of § 841(b)(I)(B) with

an amount of 5 grams but less than 50 grams of crack cocaine, counsel

was ineffective. Robinson was further subjected to ineffective assist­

ance of counsel on appeal by virtue of his appellate counsel's failure

to raise these alleged appealable issues on appeal.

     Robinson has argued on a separate ground in this memorandum,                  that

in sentencing him with a base offense level 37, this court was led

to confuse 21 U.S.C. § 851. with the career offender provision pursuant

to § 4Bl.l of the Sentencing Guidelines. If the government had not

requested a sentence under U.S.S.G. § 4Bl.l,           this court.   pursuant to

§§ 851 enhancement. would have doubled Robinson's statutory minimum

of 5 years and chose a sentence between 10 years to life imprisonment.

However, having granted the government's request for a sentence pursuant

to §4Bl.l, Robinson's statutory minimum of 5 years cannot be doubled

and neither can his maximum of 40 years be disturbed. Therefore,                  under

§4Bl.1(b)«B)(corresponding to a statutory term of "25 years or more"
but less than life imprisonment).       the base offense level would have


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been level 34 under the guideline table.              After applying 2 level

increase for obstruction of justice, Robinson's total offense level

should have been calculated at 36. Applying that offense level with

a   criminal history category of VI,            Robinson's range of imprisonment

should have been 324 to 405 months. This court sentenced Robinson to

360 months,     the bottom of the applicable gUideline. Therefore,               his

counsel's failures to raise this particular issue resulted in erron­

eously receiving a sentence which was 36 months greater than the minimum

term to which he otherwise should have been subjected.

II.            THE FAILURE TO OBJECT TO ROBINSON'S CLASSIFICATION
                              AS A CAREER OFFENDER

        Robinson asserts that his defense counsel failed him because he

did not object to Robinson's classification as a career offender at

sentencing.

        For classification as a "career offender" under the guidelines,

a defendant must have "at least two prior felony convictions of either

a crime of violence or controlled substance offense." U.S.S.G.                   § 4BI.I.
The guidelines define a "controlled substance offense" as an offense

under federal or state law,         punishable by imprisonment for a term exc­

eeding one year,      that prohibits the manufacture,          import distribute,

or dispensing of a controlled substance (or a counterfeit substance)

or the possession of a controlled substance ( or counterfeit substance)

with intent to manufacture,         import, export, distribute,         or dispense.

U.S. Sentencing Guidelines manual § 4BI.2(b)(2007); United States v.

Talib,    347 Fed.   Appx.   934 (4th Cir.      2009).

        Defense counsel's performance was unreasonable under prevailing

professional norms because he failed to familiarize himself with the


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facts and law relevant to Robinson's case. Under U.S.S.G. § 4A1.2(b)(2),

if a portion of a defendant's sentence is suspended,                 "sentence of

imprisonment" refers only to the portion that was not suspended.

Under the South Carolina Youthful Offender Act,              Robinson,     on June 12,

2000, was sentenced to an indefinite period not to exceed 5 years which

was suspended to 90 days "shock incarceration."              He therefore served

90 days for     the Youthful Offender conviction.          In United States v.

English,     1999 U.S. Appx. LEXIS 3709 (October 30,          1999),     the court,

citing Eleventh Circuit's opinion in United States v. Pinion,                    4 F.3d

941    (11th Cir.   1993), noted that under the analysis dictated by the

Guidelines, and used by Eleventh Circuit in Pinion,                  English's entire

"sentence of imprisonment" was suspended and did not result in any

sentence of imprisonment,        let alone exceeding one year and one month.

U.S.S.G. § 4Al.2(b)(2).

        Robinson asserts that the South Carolina Youthful Offender con

viction detailed above,        is not in contest here. This is because defense

counsel,     both at trial and on appeal,         has consistently informed Robin­

son that the government did not use that particular conviction as a

qualifying predicate offense for the career offender enhancement. See

(attached exhibit A).

        Robinson's contention is that his counsel rendered deficient

performance at sentencing where counsel failed to object to the use of a

suspended sentence as a predicate offense to Qualify him as a career

offender. As the government's § 851 notice shows,              the first offense

listed by the government included case No.             2000-GS-46-1700. The § 851

information made clear that Robinson received a 10 years suspended

to 5 years probation and maintain a gainful employment •••• A defense


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counsel familiar with the facts and law relevant to his client's case,

would have objected on the ground that under U.S.S.G. § 4A1.2(b)(2),

a sentence of imprisonment is defined to exclude any portion thereof

which is suspended. See United States v. Romary, 246 F.3d 339, 343

( 4 t h C i r.   2 a0"' ) •

       A review of Robinson's pre-sentence report will show that the

probation officer assigned Robinson 3 criminal history points to the

convictions and sentence of June 12, 2000. Had defense counsel objected

on the grounds that the conviction carrying the 3 points received a

suspended sentence, not only that the sentence would not have quali­

fied as a predicate for career offender enhancement, the probation

officer could have assigned points less than 3 points if any points

at all.

III.                          INEFFECTIVE ASSISTANCE ON APPEAL

        Robinson contends that as was the case at trial and sentencing,

his counsel, on appeal, rendered assistance that fell below minimum

standard required under Strickland test. As the document marked Exhibit

A will show, Robinson vigorously argued with his counsel over the facts

and law relevant to his case. According to counsel's letter of August

2, 2010, "That case is GS-46 1700, from York County and charges Dist

ribution of Crack Cocaine within Proximity of a Park. The presentence

record shows you pled guilty to that charge, and it was run concurrent

with your plea in GS-46 1701.'1 The GS-46-1700 of which counsel concedes

qualified Robinson for a career offender enhancement, was the conviction

that received the 10 years suspended sentence as detailed in the Gover­

nment's § 851           information.



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        Were counsel familiar with the law of the case,                   the 10 years

sentence, entirely suspended, would not have qualified Robinson as

a    career offender.       In addition,    counsel ignored Robinson's plea that

he research the law and the Fourth Circuit's precedents on the matter.

As the record reveals,          counsel filed an appeal without preparing or

addressing these numerous issues which competent counsels would have

prepared for.

        Certainly,       an attorney cannot render effective assistance unless

he has appointed himself with the law and facts of the case. See Robert

v.    Dutton,     368 F.2d 465 (5th Cir.           1966); Willis v.      Hunter,   166 F.2d

721    (10th Cir.    1948).

        If a petitioner is able to demonstrate that counsel's performance

was objectively unreasonable, Strickland test requires the petitioner

to establish        that" the deficient performance prejudice the defense.

Id.    at 688. Specifically,         in step two of Strickland analysis,              a petit­

ioner must demonstrate "that there is a reasonable probability that,

but for counsel's unprofessional errors,                 the result of the proceeding

would have been different." Id.             at 694. A proper prejudice analysis

also requires consideration of whether "the result of the proceeding

was fundamentally          unfair or unreliable." Lockhart v.             Fretwell,    505 U.S.

364,    369,    113 S.Ct.    838,   122 L.Ed.2d 180 (1993). Thus,           counsel may be

deemed constitutionally ineffective only if his or her "conduct so

undermined the proper functioning of the adversarial process that the

trial cannot be relied on as having produced a just result." Strickland,

466 U.S.       at 686.




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     Robinson asserts that his sentencing hearing is replete with

instances of prejudicial ineffective assistance of counsel. As in

Hopper,    supra,    there was the prejudicial error in calculation of Robin­

son's sentencing Guideline of which counsel did not discover.                  Indeed,

the government,       in Hopper, conceded that defense counsel was prejudic­

ially ineffective for having failed             to object to Petitioner's erroneous

sentencing calculation.       Indeed, the government took the further            step

to request that Hopper be resentenced at the low end of the                  applicable

guideline range as the court originally did.             Had counsel objected,        or

even discovered the erroneous sentencing calculation,                " the result .of

the proceeding would have been different." Strickland, at 694.

      Robinson further contends that counsel was prejudicially ineff­

ective for having failed       to object to the use of a suspended sentence

to qualify Robinson as a career offender. As the attached exhibit shows,

counsel even wrote a letter advising Robinson that it was the suspended

sentence that qualified him as a career offender. Counsel was further

prejudicially ineffective where he participated in calculation of

Robinson's guideline level based on 21 U.S.C.              ~   851 statutory enhance­

ment notice. Had counsel objected on the grounds that § 851 and U.S.S.G.

§ 4Bl.l "work independent of one another," as noted by the court in

Sanders,    supra,    this court would have devoted its attention either

§ 4Bl.l or § 851.        Failure to raise thesei8sues on appeal,           equally

manifest~d    prejudicial ineffective assistance of counsel.

      Clearly, Robinson's § 2255 motion falls within the parameters of

 each of the authorities cited,        each of which support the fact          that

 Robinson was totally deprived of his constitutional right to proper



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representation at his sentencing and appeal. The matters set forth                   in

this § 2255 motion meet the test of ineffective assistance of counsel

as required under Strickland.         The matters within and without the record

of this case demonstrate that counsel's performance, when placed in

the balance of the entire record,       can only lead to the conclusion that

his failures were grossly disproportionate to the positive aspect of

his representation.

                                EVIDENTIARY HEARING
     Rule 8 of the rules governing Section 2255 proceedings provides

that " [i]f the motion is not dismissed,             the judge must review the

answer, any transcripts and records of prior proceedings, and any

materials submitted •.. to determine whether evidentiary hearing is war­

ranted.

     As presented in this memorandum,             there was the erroneous calculation

of Robinson's sentence,       the confusion of § 851 and         ~   4B1.1 requirements,

the classification of    Robinson     as a career offender and the inherent

prejudicial ineffective assistance of counsel, and              because the files,

transcripts and records of this case conclusively show that Robinson

is entitled to relief,    this § 2255 motion cannot be denied without an

evidentiary hearing.    See     United States v. Fisher, 43 Fed. Appx. 697

(4th Cir.   2002).

                                         Respec      ~ully   submitted,
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